Case 1:18-cv-02328-CI\/|A-NYW Document 18 Filed 12/31/18 USDC Co|orado Page 1 of 2

Francis Schaeffer Cox 12/ 26 / 201 8
16179-006
FCI Terre Haute
F l L E D
P'O‘ BOX 33 uNrrEo s'rATEs msmc‘r count
Terre Haute, IN 47808 °E'WER' °°L°RA°°
DEC 31 2013
JEFFREY P. COL\NELL
Angela Clemons, LPOA CLERK
14526 Piney Road
Mulberry, AR 72947

479-381-3307
RE: Case Number: l:lB~cv-OZ$ZS-CMA COX v Dodd
To US District Court, Denver, Colorado,

Francis Schaeffer Cox had a scheduled phone conference on Wednesday, December 19, 2018
With the Court. Unfortunately, Francis Schaeffer Cox was unable to make the conference due to
interference by the prison staff at FCI Terre Haute, Indiana.

As the Limited Power of Attorney for Francis Schaeffer Cox, I am making two requests
from the court. One, please reschedule the telephone conference. Two, please extend the time frame
that Cox has to respond to the court due to his circumstance

Thank you very much for this consideration

Angela Clernons

MC@WM

W mnr§m%.wm~.d L;um€

 

_{._~.___*___1 :;t_:.,__§_ __l._t.n. 34 ,,.…._€,M.,…J…YT
n ,, ,.mnromrm`. hox £§§§P
.,.AW_ >\_um_h Qm§o..a . _ \, ,, . ,…~ .,S,._\?u .
,.AM_V §§me _u_.\_mv` rook
Uo \SQ_¢Q.J" br M§M
a
wP
0

.

DC Co|oFa
Q:

§ w
:_ w
`\ u~

§ §`.’

A`A
(d

.~\~

_% \Um`/< N\\.. 00 1
m MON¢¢ t
fm an
Q_ ,
_ch mn_mn»w.wmn umw _____§§_________________=_________________________________

 

Case 1:18-cv-02328-CI\/|A-NYW Document 18

